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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                         Case No. 05-40004-JLF

       Plaintiff,                                  MINUTES OF PROCEEDINGS
                                                   AND /OR MINUTE ORDER

vs.                                                DATE: April 5, 2006

DAVID W. WORTH (015),
ROBBIE SHANNON HYATT (017),
WILLIAM T. WEBB (021),
ROLAND D. WALLER (022) and
JOSEPH A. MUNTZER (023),

      Defendants.
___________________________________________________________________________

PRESENT:       The Honorable James L. Foreman, District Judge

COURTROOM DEPUTY: Vicki McGuire

       All parties are hereby notified that the April 17, 2006 Final Pretrial as to Defendants
David Worth, Robbie Hyatt, William Webb, Roland Waller and Joseph Muntzer will be held
in Benton, Illinois, before District Judge J. Phil Gilbert.


                                    NORBERT G. JAWORSKI, CLERK OF COURT

                                    By:    s/Vicki McGuire
                                           Deputy Clerk
